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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No.

   UNITED STATES OF AMERICA,

                 Plaintiff,

   v.

   1.     REAL PROPERTY LOCATED AT 760 WEST BEAVER CREEK BOULEVARD,
          APT 111, AVON, COLORADO;
   2.     REAL PROPERTY LOCATED AT 35 LOWER WOODBRIDGE ROAD, #P157,
          SNOWMASS VILLAGE, COLORADO;
   3.     REAL PROPERTY LOCATED AT 35 UPPER WOODBRIDGE ROAD, #17AB,
          SNOWMASS VILLAGE, COLORADO;
   4.     REAL PROPERTY LOCATED AT 254 WREN COURT, #204, BASALT,
          COLORADO;
   5.     REAL PROPERTY AND ALL APPURTENANCES, ATTACHMENTS, AND
          FURNISHINGS THERETO LOCATED AT 6997 TREMOLITE DRIVE, CASTLE
          ROCK, COLORADO;
   6.     REAL PROPERTY LOCATED AT 2208 ELK LANE, BASALT, COLORADO;
   7.     2021 FORD BRONCO, VIN: 1FMEE5DP9MLA90163;
   8.     2022 CHEVROLET CORVETTE STINGRAY CONVERTIBLE, VIN:
          1G1YB3D47N5121476;
   9.     2022 PORSCHE TAYCAN SEDAN, VIN: WPOAA2Y18NSA16701;
   10.    2023 CADILLAC ESCALADE, VIN: 1GYS4FKL1PR523454;
   11.    CRYPTOCURRENCY HELD IN COINBASE ACCOUNT
          594304c17d0b3d025a5ff785;
   12.    CRYPTOCURRENCY AND NFTS HELD IN ADDRESS
          0xAD71a7c34de9C27224386DAf370Ad4BdE7f7575D;
   13.    CRYPTOCURRENCY AND NFTS HELD IN ADDRESS
          0xbd08Bdea67fDB84dE8223513F70D9b9bE3C30580;
   14.    2021 YAMAHA RAPTOR MODEL NUMBER YFM09RYXLW;
   15.    MISCELLANEOUS PAINTINGS LISTED IN ATTACHMENT A;
   16.    MISCELLANEOUS HERITAGE VINTAGE SPORT AUCTIONS ITEMS LISTED
          IN ATTACHMENT B;
   17.    APPROXIMATELY $242,962.96 IN FUNDS FROM ALPINE BANK ACCOUNT
          8911911837; and
   18.    APPROXIMATELY $24,384.41 IN FUNDS FROM ALPINE BANK ACCOUNT
          8911911951.

                 Defendants.

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               ORDER FOR WARRANT FOR ARREST OF PROPERTY IN REM


          THIS MATTER comes before the Court on the United States’ Verified Complaint

   for Forfeiture In Rem, and the Court being fully apprised, FINDS that the Court has

   jurisdiction over the following defendant assets, that there is probable cause to believe

   the defendant assets are subject to forfeiture, and that a Warrant for Arrest of the

   following defendant assets should enter:

          a.     2021 Ford Bronco, VIN: 1FMEE5DP9MLA90163,
          b.     2022 Chevrolet Corvette Stingray Convertible, VIN:
                 1G1YB3D47N5121476,
          c.     2022 Porsche Taycan Sedan, VIN: WPOAA2Y18NSA16701,
          d.     2023 Cadillac Escalade, VIN: 1GYS4FKL1PR523454,
          e.     Cryptocurrency in Coinbase Account 594304c17d0b3d025a5ff785,
          f.     Cryptocurrency at Address
                 0xAD71a7c34de9C27224386DAf370Ad4BdE7f7575D,
          g.     Cryptocurrency at Address
                 0xbd08Bdea67fDB84dE8223513F70D9b9bE3C30580,
          h.     2021 Yamaha Raptor Model Number YFM09RYXLW,
          i.     Miscellaneous Paintings Listed in Attachment A,
          j.     Miscellaneous Heritage Vintage Sport Auctions Items Listed in Attachment
                 B,
          k.     Approximately $242,962.96 in Funds from Alpine Bank Account
                 8911911837, and
          l.     Approximately $24,384.41 in Funds from Alpine Bank Account
                 8911911951.

          IT IS THEREFORE ORDERED that the Clerk of the Court shall enter a Warrant

   for Arrest of Property In Rem and that the United States Marshals Service and/or any

   other duly authorized law enforcement officer is directed to arrest and seize the above-

   referenced defendant assets as soon as practicable, and to use whatever means may

   be appropriate to protect and maintain it in your custody until further order of this Court.


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          IT IS FURTHER ORDERED that the United States shall post notice on an official

   internet government site for at least 30 consecutive days, stating that all persons

   claiming or asserting an interest in the defendant assets must file a Claim and an

   Answer to the Complaint with the Court, and serve copies of same to the Assistant

   United States Attorney, to the addresses listed below:

         Clerk of the United States District Court       Tonya S. Andrews
         901 19th Street                                 Assistant United States Attorney
         Denver, Colorado 80294                          United States Attorney’s Office
                                                         1801 California St., Suite 1600
                                                         Denver, Colorado 80202

          SO ORDERED this ____ day of _____________________, 2024.

                                                     BY THE COURT:



                                                     _____________________________
                                                     United States District Court
                                                     Judge/Magistrate Judge




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